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 1                                                           JUDGE RONALD B. LEIGHTON
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT TACOMA
 8
     UNITED STATES OF AMERICA,                 )      NO. CR05-5823RBL
 9                                             )
                   Plaintiff,                  )
10                                             )      ORDER GRANTING MOTION TO
                   vs.                         )      CONTINUE TRIAL DATE
11                                             )
     JACOB RAY GARDNER, and                    )
12 MICHAEL ANTONIO JORDON.                     )
     JACOB RAY GARNER and                      )
13 APRYL JOY BEACH,                            )
                                               )
14                 Defendants.
15
            The Court notes that defendants Thomas Evans Dunigan and Apryl Joy Beach
16
     object to the motion to continue, however, based on the Stipulation by the Plaintiff,
17
     United States of America, and defendants Jacob R. Gardner and Michael A. Jordan to
18
     continue the trial date, and the affidavit of defense counsel for Mr. Gardner in support of
19
     the motion the Court makes the following findings of fact and conclusions of law. :
20
            1. The ends of justice served by granting this continuance outweigh the best
21
     interests of the public and the defendants in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
22
            2. Proceeding to trial absent adequate time for the defense to prepare would
23
     result in a miscarriage of justice. 18 U.S.C. §3161(h)(8)(B)(i).
24
            3. The defense needs additional time to explore issues of some complexity,
25
     including all relevant issues and defenses applicable to the case, which would make it
26
     unreasonable to expect adequate preparation for pretrial proceedings or for trial itself
     ORDER GRANTING STIPULATED MOTION                                    FEDERAL PUBLIC DEFENDER
                                                                                       1331 Broadway, Ste. 400
     TO CONTINUE TRIAL DATE                          1                             Tacoma, Washington 98402
     U.S. v. Gardner, et. al.; CR05-5823RBL                                                    (253) 593-6710
           Case 3:05-cr-05823-RBL       Document 46        Filed 01/12/06    Page 2 of 2



 1 within the time limits established by the Speedy Trial Act and currently set for this case.

 2 18 U.S.C. § 3161(h)(8)(B)(ii).

 3         4. Taking into account the exercise of due diligence, a continuance is necessary
 4 to allow the defendants the reasonable time for effective preparation his defense. 18

 5 U.S.C. § 3161(h)(8)(B)(iv).

 6         NOW, THEREFORE,
 7         IT IS HEREBY ORDERED that the trial date is continued from January 30, 2006
 8 to March 20, 2006, at 9:00 am. The resulting period of delay from January 30, 2006, to

 9 March 20, 2006 is hereby excluded for speedy trial purposes under 18 U.S.C. §

10 3161(h)(8)(A) and (B).

11         Pre-trial motions are due no later than FEBRUARY 20, 2006.
12         Motion Hearing, if needed, and the Pre-trial conference shall be on
13 MARCH 7, 2006, at 9:00 am.



                                              A
14         IT IS SO ORDERED this 12th day of January, 2006.
15
                                              RONALD B. LEIGHTON
16                                            UNITED STATES DISTRICT JUDGE
     Presented By:
17

18                                                      _______________________________
   Russell V. Leonard & Linda Sullivan                  Gregory Gruber
19 Attorneys for Jacob R. Gardner                       Assistant United States Attorney
20
     ________________________________                   ________________________________
21 Charles Johnston                                     Kent Liu
     Attorney for Michael A. Jordan                     Special Assistant United States Attorney
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     ORDER GRANTING STIPULATED MOTION                                    FEDERAL PUBLIC DEFENDER
                                                                                       1331 Broadway, Ste. 400
     TO CONTINUE TRIAL DATE                         2                              Tacoma, Washington 98402
     U.S. v. Gardner, et. al.; CR05-5823RBL                                                    (253) 593-6710
